                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:09cv196

IN RE:                                               )
                                                     )
LR BUFFALO CREEK, LLC, a                             )
Georgia limited liability company,                   )
______________________________                       )

HERSCHEL ALLEN and wife,                             )
ELIZABETH ALLEN, et al.,                             )
                                                     )
                      Plaintiffs,                    )
                                                     )
Vs.                                                  )              ORDER
                                                     )
LAND RESOURCE GROUP OF                               )
NORTH CAROLINA, LLC, a North                         )
Carolina limited liability company,                  )
et al.,                                              )
                                                     )
                                                     )
               Defendants.                           )
_______________________________                      )

        THIS MATTER is before the court on the defendants’ joint Motion to

Remand of (#16), the plaintiffs Motion for Remand (#18), and the Trustee’s Amended

Motion to Change Venue (#19).1 While the court has allowed defendants’ request for


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               From the outset, the court notes the lack of compliance with the Local Civil
Rules, the prime objective of which is to keep matters simple. In this case, counsel have
included responses to motions in briefs filed in support of other motions. This violates Local
Civil Rules 7.1(C)(2).

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additional time to respond to the Trustee’s Amended Motion to Change Venue (#19),

such defendants have substantively argued, in the alternative, in their brief in support

of their Motion for Remand, what appears to be the appropriate resolution of this

matter. See Defendants’ Memorandum in Support, at 23 (Docket Entry # 17). The

court has also allowed plaintiffs additional time to respond to the Amended Motion

to Transfer Venue, and review of the pleadings reveals that plaintiffs are not in

agreement that Count 12 should be transferred to the bankruptcy court and the

remainder of the action remanded to state court. So as to afford plaintiffs an

opportunity to respond, the court will modify Order (Docket Entry # 25) by staying

this Order for 10 days to allow plaintiffs an opportunity to interpose whatever

objection they have, if any, to the resolution provided by this Order.2

       First, the court finds that the trustee properly removed this matter to this court

in accordance with 28, United States Code, Section 1452, which provides as follows;

       Removal of claims related to bankruptcy cases
       (a) A party may remove any claim or cause of action in a civil action
       other than a proceeding before the United States Tax Court or a civil
       action by a governmental unit to enforce such governmental unit’s
       police or regulatory power, to the district court for the district where
       such civil action is pending, if such district court has jurisdiction of such



       2
                The court notes that if plaintiffs are satisfied with this resolution, which they may
well be in that they too sought remand, they should file a notice of such, which will allow this
action to proceed promptly in its constituent parts to the appropriate courts.

                                                 -2-


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      claim or cause of action under section 1334 of this title.

28 U.S.C. § 1452(a). In turn, Section 1334(a) provides that “the district courts shall

have original and exclusive jurisdiction of all cases under title 11.”      28 U.S.C.

Section 1334(a).

      The Trustee has shown to this court that certain defendants herein, to wit, LR

Buffalo Creek, LLC, Land Resource Group, LLC, Land Resource Group of North

Carolina, LLC, and Southern HOA Management, LLC, (hereinafter “the Chpater 7

defendants”) are debtors in a “series of proceedings” administered by the United

States Bankruptcy Court for the Middle District of Florida, to wit, 6:08bk10159, et

seq. This court has jurisdiction over the claims asserted in the removed action against

the Chapter 7 defendants as they are claims “related to” the bankruptcy proceeding.

Specifically, Count 12 appears on its face to be a claim that could and should have

been made by the bankruptcy estates on behalf of all creditors. See Amended Motion

to Transfer, at ¶ 9. In relevant part, plaintiffs allege in Count 12 that during the

insolvency of the Chapter 7 defendants, the officers, directors, and shareholders of

such insolvents (who are also defendants named herein) owed a fiduciary duty to hold

the assets of the failing LLCs in trust and distribute such assets to such Chapter 7

defendants’ creditors (which included plaintiffs), rather than convert such assets to

such officers’, directors’, and shareholders’ personal use.

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       The Trustee contends that this is precisely the type of claim that belongs to the

Trustee and that it should be brought by the Trustee for the benefit of all creditors,

which include plaintiffs herein. Id. While it has been argued herein that the primary

purpose of a Chapter 7 proceeding is to liquidate assets, a condition precedent to

liquidating assets is finding assets that may have been improperly conveyed. In

addition to claims asserted against the Chapter 7 defendants in Count 12, the court

finds that the claims against defendants Ward, Vacko, Beidel, and Flaskey (“the

individual defendants”), the “John Doe Officers,” and “John Doe Directors” are

equally related to the bankruptcy proceeding as it is alleged in Count 12 that they

transferred the Chapter 7 defendants assets to themselves rather than preserving such

for creditors. Clearly, in the Trustee’s search for assets, any claim that such

additional defendants are liable for either improper transfer or receipt of assets (to

wit, officers/directors’ liability or through a constructive trust) is related and critical

to the bankruptcy proceeding as any claim against the individual defendants as either

officers, directors, or shareholders, or as recipients of such assets, necessarily enures

to the benefit of all creditors of the bankruptcy estates, not just these plaintiffs. Thus,

the court will sever Count 12 in its entirety and transfer such proceeding to the United

States Bankruptcy Court for the Middle District of Florida for disposition by the

bankruptcy court for disposition in 6:08bk10159, et seq., in accordance with 28,

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United States Code, Section 1412.

      Having first severed Count 12 and transferred such proceeding to the United

States Bankruptcy Court for the Middle District of Florida, the court has considered

the claims that remain. The court can find no reason to retain jurisdiction over the

remaining claims, and it appears that the action now concerns almost entirely state

law claims that were commenced and can be timely adjudicated in such state courts.

The remainder of this action will, therefore, be remanded.



                                     ORDER

      IT IS, THEREFORE, ORDERED that defendants’ joint Motion to Remand

(#16), the plaintiffs Motion for Remand (#18), and the Trustee’s Amended Motion

to Change Venue (#19) are ALLOWED in part and GRANTED in part as follows:

      (1)   Count 12 is, in its entirety, SEVERED from the Complaint and

            transferred to the United States Bankruptcy Court for the Middle District

            of Florida, where such court may dispose of plaintiffs’ claim as it has

            been asserted against defendants LR Buffalo Creek, LLC, Land

            Resource Group, LLC, Land Resource Group of North Carolina, LLC,

            Southern HOA Management, LLC, individual defendants Ward, Vacko,

            Beidel, and Flaskey, “John Doe Directors” and “John Doe Officers;”

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      (2)    the remainder of the claims are, respectfully, REMANDED to the North

             Carolina Business Court for disposition; and .

      (3)    The trustee’s original Motion to Change Venue (#6) is DENIED as

             moot.



      The Clerk of this court is respectfully instructed to stay execution of this Order

for 10 days so that plaintiffs may file any objection they may have to the transfer of

Count 12 to the bankruptcy court.




                                           Signed: July 30, 2009




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